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                   EXHIBIT A
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                                                                       UnitedHealth Group
                                                                                                                                                                       Group accident & health
                                                                          Incorporated                                                                                  insurance contracts for
                                                                                                          UnitedHealthCare, Inc.                                       employers & associations

                                                                     UnitedHealthCare Services,
                                                                                Inc.
                                                                                                                                                                            Medicare
                                                                                                            UHIC Holdings,          UnitedHealthcare
                                                                                                                                                                             Plans
                                                                                                                 Inc.              Insurance Company

                                                                                                                                                                           Individual
            Optum Health
                                                     Optum Insight                 Optum, Inc.                                                                             insurance
            Networks, Inc.                                                                                                                                                   plans


               OptumServe
OptumCare                                                        Optum           Optum Health
                  Health
                                        Optum360                Labs, LLC        Holdings, LLC
                                                                                                       Optum             OptumRx             OptumRx
               Services, Inc.                                                                       Financial, Inc.      (pharmacy/PBM)     Holdings, LLC


                The Lewin                                                      United Behavioral
                                                                                    Health          Optum Bank                             OptumRx, Inc.
                Group, Inc.
                                                   Change
                                                Healthcare Inc.             McKesson
                                                                             Corp.                   Optum Pay




                                                                                     Change
                         Change               Change
                                                                Change             Healthcare
                        Healthcare           Healthcare
                                                             Healthcare LLC         Pharmacy
                      Operations, LLC       Holdings, Inc.
                                                                                  Solutions, Inc.

                                                                                                                                            Patterson Companies,                  Healthfirst, Inc.
                                               Change                                                                                         Inc. (processing co.            (insurance co. medical
                          Change                                                                                                                                                   biller plaintiff
                                             Healthcare                                                                                     provider plaintiffs used
                        Healthcare                                                                                                         to process prescriptions,             submitted claims
                                            Technologies,
                       Solutions, LLC                                                                                                               bills, etc.)                      through)
                                                 LLC
